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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                Magistrate Judge N. Reid Neureiter

  Civil Action No: 19-cv-01437-CMA-NRN                 Date: May 7, 2020
  Courtroom Deputy: Stacy Libid                        FTR: Courtroom C203

   Parties:                                            Counsel:

   LANDON MONDRAGON,                                   Richard Liebowitz

        Plaintiff,

   v.

   NOSRAK LLC, and                                     Thomas Werge
   KASEY KING,

        Defendants.


                                     COURTROOM MINUTES


  TELEPHONIC MOTION HEARING/SHOW CAUSE HEARING

  11:02 a.m.         Court in session.

  Court calls case. Appearances of counsel. Also present on behalf of the Defendant law
  clerk Travis Miller.

  This matter is before the Court regarding:
        - Motion to Dismiss Claim Against Defendant Kasey King Pursuant to Rule
            12(b)(6) [Docket No. 36];
        - Motion for Leave to Assert Claims Against Third Party Defendant Jessica
            Moore [Docket No. 37]; and
        - Motion to Dismiss for Failure to Prosecute [Docket No. 42].

  Arguments by counsel.

  For the reasons set forth on the record, it is

  ORDERED: Motion to Dismiss Claim Against Defendant Kasey King Pursuant to Rule
           12(b)(6) [Docket No. 36] is TAKEN UNDER ADVISEMENT.
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  ORDERED: Motion for Leave to Assert Claims Against Third Party Defendant Jessica
           Moore [Docket No. 37] is GRANTED. A Third-Party Complaint shall be
           filed no later than May 14, 2020.

  The Court raises the Order to Show Cause [Docket No. 49] for discussion.

  Attorney Richard Liebowitz questioned under oath.

  ORDERED: Motion to Dismiss for Failure to Prosecute [Docket No. 42] is TAKEN
           UNDER ADVISEMENT. Court will consider imposing an alternative
           sanction but will not dismiss the case.

  11:51 a.m.   Court in recess.

  Hearing concluded.
  Total in-court time: 00:49

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  Company at (303) 755-4536 or AB Litigation Services at (303) 629-8534.




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